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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 JANE DOE 1, et al.,                               §
                                                   §
         Plaintiffs,                               §
                                                              Civil Action No. 6:16-CV-00173-RP
                                                   §
 v.                                                §
                                                                                Consolidated with
                                                   §
                                                                                  6:17-CV-228-RP
 BAYLOR UNIVERSITY,                                §
                                                                                  6:17-CV-236-RP
                                                   §
         Defendant.                                §


  BAYLOR UNIVERSITY’S SECOND MOTION FOR PROTECTION RELATING TO
             SUBPOENA TO NON-PARTY G.F. BUNTING + CO.


        Much has happened since Baylor filed its first Motion for Protection Relating to Subpoena

to Non-Party G.F. Bunting + Co. in September 2019. ECF 705. Among other things, Baylor has

been able to see the documents Bunting identified as responsive to the subpoena, the Court has

issued numerous orders addressing discovery and privilege in non-Bunting contexts, and the Court

has twice issued orders related directly to Bunting. ECF 892, 1024. The Court’s most recent Bunting

order stated that, “[a]bsent extraordinary circumstances, the Court cannot and will not conduct an in

camera review of documents . . . .” ECF 1024. Based on these developments, Baylor is withdrawing

the overwhelming majority of its privilege assertions, despite its belief that the documents are

privileged, and is now asserting privilege on only 132 items. See Bunting Privilege Log, attached as

Exhibit A. This amended motion for protection addresses these remaining items, which can be

grouped into three categories. As shown below, each of these three categories should be protected,

for slightly different reasons.




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                                          BACKGROUND

        When Baylor filed its original motion for protection in September 2019, it had not yet seen

the materials Bunting had identified as responsive to Plaintiffs’ subpoena, so the motion requested

(among other things) that Baylor be allowed an opportunity to review the responsive materials in

Bunting’s possession and log any privileged materials. Id. Pending a ruling on that motion, Baylor

began reviewing Bunting’s documents, evaluating them for privilege, and logging them. As a result

of conferences with Plaintiffs’ counsel, Baylor reduced the number of entries on its Bunting privilege

log to around 1000.

        In August 2020, the Court ordered Baylor to produce a privilege log as to the Bunting

materials if Baylor had not already done so. 1 ECF 892 at 12. The Court denied the remainder of

Baylor’s motion, without prejudice to re-urging it as to specific documents at a later date. Id. at 11-

12.

        Throughout this process, Baylor has carefully evaluated, and re-evaluated, its privilege

assertions and reduced the number of entries on the log. Baylor strongly believes that all of the

Bunting documents identified on prior versions of its log were privileged and properly withheld or

redacted. 2 However, in light of the Court’s most recent order on this matter (ECF 1024) and in a

sincere effort to resolve the parties’ dispute over the Bunting materials without the need for further

Court intervention, Baylor has withdrawn its assertion of privilege to all but 132 entries, which fall

into three discrete categories.




1
 As noted above, Baylor had already produced such a log to Plaintiffs.
2
 For example, although the log contained approximately 1000 entries as of October 2020, about
half of those entries related to the Briles and Shillinglaw litigation discussed below.


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                                             ARGUMENT

I.      Category One: Materials and communications relating to the Briles and Shillinglaw
        defamation litigation.

        The first category relates to two state court lawsuits filed in December 2016 and January 2017

by two former Baylor employees, Art Briles and Collin Shillinglaw. After his termination in June 2016,

Briles alleged that Baylor administrators and Regents had defamed him with media comments

regarding reports of sexual assault and Baylor football players. See Exhibit B, Declaration of

Christopher W. Holmes, ¶6. Baylor and Briles mediated, unsuccessfully, before Briles filed suit against

three Regents and Baylor’s Vice-President, Reagan Ramsower, in December 2016. Id. at ¶7. Briles

threatened to sue Bunting, too. Id. Before the lawsuit, Baylor was represented by outside counsel,

Norton Rose and Rusty Hardin & Associates. Id. at ¶6. After Briles filed suit, Norton Rose

represented Ramsower, and Hardin & Associates represented the three Regents. Id. at ¶7. Bunting

also retained Hardin & Associates to represent its interests in the Briles litigation. Id; see also Exhibit

C, Declaration of Russell “Rusty” Hardin Jr., ¶10. Baylor (on behalf of Ramsower), the Regents, and

Bunting all entered into a joint defense agreement with respect to the Briles litigation. Id; see also

Exhibit D, Declaration of David H. Harper, ¶3; Exhibit E, Declaration of David Iler, ¶4. Shillinglaw

filed his defamation lawsuit in January 2017, suing Baylor, an additional Regent, interim President

David Garland, and Ramsower. Ex. C, ¶11. Shillinglaw’s lawsuit also made allegations about an

unnamed marketing firm (Bunting) assisting Baylor’s Regents in making the allegedly false statements.

Id. Again, Baylor, the Regents, and Bunting entered into a joint defense agreement. Ex. C, ¶10; see

also Ex. E, ¶4.

        The documents in Category One include (i) emails between Baylor, Bunting, the Regents,

Norton Rose, and Hardin & Associations exchanging and commenting on draft pleadings in the Briles

and Shillinglaw lawsuits and (ii) an internal chronology prepared by Hardin & Associates for their




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clients (the Regents and Bunting) to use in those lawsuits. These documents and communications are

protected as work-product. 3

        First, these materials were created in anticipation of or for litigation by the attorneys for Baylor,

the Regents, and Bunting. See FED. R. CIV. P. 26(b)(3)(A). The documents in Category One contain

draft pleadings, prepared by lawyers; the lawyers’ edits to and comments on those pleadings; and

emails between the lawyers about those pleadings. Ex. B, ¶¶9-11; Ex. C, ¶¶14, 16-17; Ex. F,

Declaration of Glenn F. Bunting, ¶¶13, 15-17. Category One also contains a chronology prepared by

counsel for the Regents and Bunting. Ex. C, ¶15; Ex. F, ¶14. This is classic attorney work-product.

Fed. R. Civ. P. 26(b)(3)(A). 4

         Second, Bunting’s edits to, comments on, and emails about these pleadings are also protected

work-product, as the doctrine extends to documents “prepared in anticipation of litigation” by a “party

or its representative,” including but not limited to a party’s “attorney, consultant, . . . or agent.” 5 Id.;

see also In re Int'l Sys. & Controls Corp. Sec. Litig., 693 F.2d 1235, 1238 (5th Cir. 1982) (affirming finding

that all documents in “special review binders” were entitled to work product protection when the

binders were prepared by an auditor who “was a representative of a party” and “there was a sufficient

anticipation of litigation”). Thus, courts within the Fifth Circuit have routinely applied the work

product doctrine to materials created by accountants and other consultants in anticipation of litigation.

See, e.g., Osherow v. Vann (In re Hardwood P-G, Inc.), 403 B.R. 445, 464-65 (Bankr. W.D. Tex. 2009)



3
  These documents should also be protected as attorney-client privileged, for the reasons expressed in
Baylor’s original motion on the Bunting materials. ECF 705.
4
  Moreover, the lawsuits’ accusations extended beyond Baylor to Bunting, forcing Bunting to retain
counsel to represent its interests and creating a joint-defense, allied-litigant, and/or common-interest
privilege between Baylor, the Regents, and Bunting. See In re XL Specialty Ins. Co., 373 S.W.3d 46, 50
(Tex. 2012) (joint-client and allied-litigant doctrines); BCR Safeguard Holdings, LLC v. Morgan Stanley
Real Estate Advisor, Inc., 614 F. App’x 690, 703 (5th Cir. 2015) (common-interest doctrine).
5
  As has been explained elsewhere, Baylor’s Office of General Counsel (“OGC”) engaged Bunting in
October 2016 to provide public relations advice to assist in threatened and pending Title IX related
litigation. See Ex. B, ¶¶3-5.


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(accountant’s report prepared in anticipation of litigation); Wi-Lan, Inc. v. Acer, Inc., Nos. 2.-07-CV-

473-TJW, 2:07-CV-474-TJW, 2010 U.S. Dist. LEXIS 110351, 2010 WL 4118625, at *4 (E.D. Tex.

Oct. 18, 2010) (engineering consultant's report prepared in anticipation of litigation); Jones v. C.R. Bard,

Inc., No. 3:13-CV-599-K (BF), 2014 U.S. Dist. LEXIS 182765, at *19-20 (N.D. Tex. 2014) (doctor’s

report prepared in anticipation of litigation).

        Other jurisdictions have held specifically that the work product privilege protects

communications with, as well as materials shared with and prepared by, a public relations firm when

made in anticipation of litigation. For example, in Calvin Klein Trademark Tr. v. Wachner, 198 F.R.D.

53, 55-56 (S.D.N.Y. 2000), cited by this Court in ECF 892, the court held that a number of PR

documents were protected as work product, reasoning:

        It does not follow [] that an otherwise valid assertion of work-product protection is
        waived with respect to an attorney’s own work-product simply because the attorney
        provides the work-product to a public relations consultant whom he has hired and
        who maintains the attorney’s work-product in confidence. This is especially so if, as
        plaintiffs here assert, the public relations firm needs to know the attorney’s strategy in
        order to advise as to public relations, and the public relations impact bears, in turn, on
        the attorney’s own strategizing as to whether or not to take a contemplated step in the
        litigation itself and, if so, in what form.

Id. Applying this standard, the court found that several categories of counsel-drafted or counsel-

selected materials given by plaintiff’s in-house counsel to the PR firm were protected attorney work

product. Id. In addition, the court found that materials created by the PR firm could be protected

under the work-product doctrine as well, explaining, “several categories of documents (such as notes

of witness interviews)[,] even though prepared by RLM [the PR firm], appear to implicitly reflect work-

product.” Id.

        Similarly, the court in Pemberton v. Republic Servs., 308 F.R.D. 195, 197-98 (E.D. Mo. 2015),

citing Calvin Klein for support, found that communications with a PR firm were protected work

product. In Pemberton, a landfill owned by the defendant had a “subsurface smoldering event” that

caused a foul odor in surrounding vicinities. Id. This event gave rise both to extensive litigation and


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intense media scrutiny. Id. In order to help manage the defendant’s response to media coverage,

defense counsel hired a national PR firm, which in turn hired a local PR firm to serve as a consultant

for counsel and the defendant. Id. As part of the class action, plaintiffs served a subpoena on the

local PR consultant, and the defendant asserted privilege. Id. The court found that some of the

materials were protected as work product:

        All the materials were created by a party and its attorney or an agent of the attorney,
        and would not have been prepared in substantially similar form but for the prospect
        of litigation. The Court’s review of the documents shows that counsel, their clients,
        and [the local PR consultant] worked closely together in discussing the information to
        be provided to the public, all with a view to the impact on future litigation. All of the
        materials in question were created in an effort to foster a public environment that was
        less likely to lead to further litigation involving the Landfill. As stated in Mr. Beck’s
        amended declaration, defense counsel retained [the] consultant “to provide public
        relations advice related to the litigation already occurring and the litigation we believed
        was coming.” As further stated by Ms. Merrigan, all the materials created by [the
        consultant] were “created at the direction of counsel, in anticipation of litigation.”
        Upon review of the materials, the Court is persuaded that this was indeed the case.
        The prospect of litigation was very real, as demonstrated by the quick proliferation of
        lawsuits against Defendants, beginning in 2013 and continuing to the present. Trying
        to address the media climate in which defense counsel was operating while attempting
        to provide information to the public was a legitimate activity, and within the scope of
        proper litigation strategy. Other courts have extended work product protection to
        public relations work in similar situations.

Id. (internal citations removed) (citing ADT Sec. Servs., Inc. v. Swenson, Civ. No. 07-2983 (JRT/AJB), 2010

U.S. Dist. LEXIS 74987, at *5 (D. Minn. July 26, 2010) (holding that public relations documents

created to address media scrutiny were work product as they reflected mental impressions of counsel);

Calvin Klein, 198 F.R.D. at 55-56 (extending work product protection to materials produced by public

relations consultant hired by attorney to help manage publicity surrounding client)); see also Schaeffer v.

Gregory Village Partners, L.P., No. 13-cv-04358-JST, 2015 U.S. Dist. LEXIS 3966 (N.D. Cal. Jan. 12,

2015) (holding attorney client and work product privilege protected communications between

defendants’ counsel and public relations firm). Here, the role Bunting played in Baylor’s and the

Regent’s litigation defense strategy in the Briles and Shillinglaw cases went even further than the PR




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firms discussed in Calvin Klein, Pemberton, and the other cases cited above: Bunting actually assisted

Baylor’s counsel in drafting pleadings in pending litigation.

        Moreover, even if this Court were to find that Bunting’s communications and edits to draft

pleadings in the Briles and Shillinglaw litigation are not protected, the fact that Baylor, the Regents,

and their counsel disclosed their own work product communications and draft pleadings with Bunting

does not waive the work product privilege as to those documents. See Ala. Aircraft Indus. v. Boeing Co.,

No. 2:11-cv-03577-RDP, 2016 U.S. Dist. LEXIS 193204, at *12 (N.D. Ala. 2016) (“However, some

of the disputed documents contain attorney work product, and the undersigned concludes that such

documents are due to be withheld, in recognition of the accepted notion ‘that an otherwise valid

assertion of work-product protection is [not] waived with respect to an attorney’s own work-product

simply because the attorney provides the work-product to a public relations [or lobbying] consultant

whom he has hired and who maintains the attorney’s work-product in confidence.” (quoting Calvin

Klein, 198 F.R.D. at 55.)). The documents in Category One that were shared with Bunting were not

disclosed to any non-confidential, non-privileged third party by Baylor, its outside counsel, Bunting,

the Regents, or the Regents’ counsel. See, e.g., Exhibit G, Declaration of Stephen C. Dillard, ¶8; Ex.

D, ¶6; Ex. F, ¶18.

        On these facts – which are supported by the Privilege Log (Exhibit A) and the declarations of

Christopher W. Holmes (Exhibit B), Russell “Rusty” Hardin Jr. (Exhibit C), David H. Harper (Exhibit

D), David Iler (Exhibit E), Glenn F. Bunting (Exhibit F) and Stephen C. Dillard (Exhibit G) filed with

this motion, as well as the declarations attached to Bunting’s response – Baylor has met its burden of

showing that communications and documents prepared and exchanged with Bunting relating to the

Briles and Shillinglaw litigation on its privilege log are protected work product.




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II.     Category Two: Documents provided inadvertently to Bunting remain privileged under
        the work product doctrine.

        As described in the declaration of Chris Holmes, see Ex. B, ¶12-13, Baylor’s OGC asked

Reagan Ramsower to gather certain communications, related to Patty Crawford’s tenure as Title IX

coordinator and the work of the Sexual Assault Task Force, so that the OGC could provide these

documents to Bunting. Baylor and its OGC did not realize until this litigation that the thumb-drive

Dr. Ramsower provided contained other documents that Baylor never intended to disclose to

Bunting. 6 Specifically, the thumb drive included (i) communications between Doug Welch, an

attorney in the OGC, and other OGC lawyers and Baylor representatives discussing a confidential

tolling agreement and settlement negotiations with a third-party sexual assault claimant threatening

Title IX litigation against the University in October 2015, see Exhibit H, Declaration of Doug Welch;

(ii) a letter from outside coverage counsel for Baylor, Brent Cooper, to one of Baylor’s insurance

carriers for this matter, Ex. B, ¶13, and (iii) an October 15, 2015 email memorandum prepared by

Noley Bice, another attorney in the OGC, to OGC lawyers and Baylor representatives regarding

another third-party sexual assault claimant, Ex. B, ¶13. All of these documents and communications,

which were prepared in anticipation of litigation, are protected work product. Fed. R. Civ. P.

26(b)(3)(A). Under Fifth Circuit law, the disclosure of work product results in waiver of work product

protection only if the work product is disclosed to adversaries or treated in a manner that substantially

increases the likelihood that an adversary will come into possession of the material. See Ferko v.

NASCAR, 218 F.R.D. 125, 136 (E.D. Tex. 2003); see also In re Grand Jury Subpoena, 220 F.3d 406, 409

(5th Cir. 2000) (“[B]ecause the work product privilege looks to the vitality of the adversary system

rather than simply seeking to preserve confidentiality, it is not automatically waived by the disclosure

to a third party.”); S.E.C. v. Brady, 238 F.R.D. 429, 444 (N.D. Tex. 2006) (waiver of work product


6
 To Baylor’s knowledge, Bunting never used any of these documents in its work for Baylor. Ex. B,
¶13.


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protection only results if the work product is disclosed to an adversary); U.S. v. CITGO Petroleum Corp.,

No. C-06-563, 2007 U.S. Dist. LEXIS 27986, at *8 (S.D. Tex. 2007) (“To waive work product

protection, the disclosure must be inconsistent with maintaining the secrecy of an attorney’s trial

preparation.”). Baylor’s disclosure of these work product documents and communications with

Bunting—its own consultant—does not waive the privilege. See Part I., above; Ala. Aircraft Indus. v.

Boeing Co., 2016 U.S. Dist. LEXIS 193204 at *12.

III.    Category Three: Emails exchanging drafts of Baylor’s response to Plaintiffs’ Motion
        to Enforce the Protective Order in this very case .

        On October 12, 2016, shortly after Baylor retained Bunting, Plaintiffs filed a Motion to

Enforce Protective Order in this case seeking to prohibit Baylor from sharing the identity of the Jane

Does with Bunting. ECF 44. Because Bunting was the subject of Plaintiffs’ motion, Baylor’s outside

counsel shared work-product drafts of Baylor’s response to Plaintiffs’ motion with Bunting and OGC

to confirm factual accuracy. Bunting, outside counsel, and OGC’s communications are reflected in

three log entries on the privilege log. See Ex. B, ¶14. Because these documents and communications

were prepared in anticipation of litigation, they are work product, and as explained above, their

disclosure to Bunting does not waive their work product protection. 7

        For the foregoing reasons, Baylor respectfully requests that the Court grant its Second Motion

for Protection Relating to Subpoena to Non-Party G.F. Bunting + Co.




7
  In addition to the three categories addressed herein, there are also four duplicative documents on
the privilege log relating to Phil Stewart that reflect privileged information from Pepper Hamilton’s
investigation. Bunting has already produced these documents with redactions, pursuant to this Court’s
order at Docket 1023.


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                                        Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       I certify I conferred with Jim Dunnam, counsel for Plaintiffs, and he is opposed to the relief

requested herein.


                                                             /s/Julie A. Springer
                                                             Julie A. Springer




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing motion was served upon

Plaintiffs’ counsel of record on March 11, 2022 via the Court’s ECF/CMF electronic service system

as follows:

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